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-A0 2458      (Rev. 06/05) Judgment in a Cnminal Case                    358
              Sheet I


                                        UNITEDSTATESDISTRICTCOURT
                       EASTERN                                     District of                               KENTUCKY
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             V.
               SERGIO CANO-GARCIA
                                                                          Case Number:                      LEXINGTON 5:07-cr-49-13-JMH
                                                                          USM Number:                       11605-032
                                                                          John Jerome Goodman
                                                                          Defendant’s Anomey
THE DEFENDANT:
X pleaded guilty to count(s)        13 (lesser included offense)
                                                                                                              -A
0pleaded nolo contendere to count@)
   which was accepted by the court.                                                                               AT LEXINGTON
                                                                                                                LESLIE G WHITMER
0was found guilty on count(s)                                                                               CLERK U S D!STRICT COURT
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
21 U.S.C. 841(a)(l)               Aiding & abetting possession with intent to distribute cocaine,           2l20l07              13
 & 18 U.S.C. 2                     a Schedule I1 controlled substance
                                   (lesser included offense)



       The defendant is sentenced as provided in pages 2 through                 4       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
x Count(s)      1                                       X is       0 are dismissed on the motion of the United States.
         It is ordered that the defend@,must notify the Unjted States attorney for this district within 30 da s of any change ofname, residence,
or mailing address until all fines, restitution,,costs, and special assessments imposed by this judgment are f d y paid. If ordered to pay restitution,
the defendant must notify the court and Umted States attorney of material changes in economc circumstances.

                                                                          August 6 2007
                                                                          Date of Imposition of Judgment




                                                                          JOSEPH M. HOOD, CHIEF UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge


                                                                          August 6.2007
                                                                          Date
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              Sheet 2 - Imprisonment
                                                                                                         Judgment-Page      2   of   4
    DEFENDANT:                   CANO-GARCIA, Sergio
    CASE NUMBER                  LEXINGTON 5:07-cr-49-13-JMH

                                                                IMPRISONMENT

             The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
    total term of:
    TIME SERVED
    Because the sentence imposed does not exceed one year, and the defendant’s likely deportation following his incarceration,
    the Court chooses not to impose a term of supervised release.


     0      The court makes the following recommendations to the Bureau of Prisons:




     X      The defendant is remanded to the custody of the United States Marshal.

     0      The defendant shall surrender to the United States Marshal for this district:
            0 at                                       0 a.m.      0 p.m.       on
            0 as notified by the United States Marshal.

     0      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            0 before 2 p.m. on
            0 as notified by the United States Marshal.
            0 as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
    I have executed thisjudgment as follows:




            Defendant delivered on                                                           to

a                                                       , with a certified copy of this judgment.


                                                                                                       UNITED STATES MARSHAL


                                                                              BY
                                                                                                    DEPUTY UNITED STATES MARSHAL
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           Sheet 5 -Criminal Monetary Penalties
                                                                                                      Judgment-Page         3   of       4
DEFENDANT:                         CANO-GARCIA, Sergio
CASE NUMBER:                       LEXINGTON 5:07-cr-49-13-JMH
                                           CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                         -
                                                                         Fine                                 Restitutiog
TOTALS             $ 100.00                                          $                                    $


0 The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (A0 245C) will be entered
     after such determination.

 0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximate1 ro ortioned ayment, unless specified otherwise in
     the priority order or percentage payment column gelow. However, pursuant to 18
     before the United States is paid.
                                                                                             vS.8.
                                                                                            8 3664&, all nonfederal vlctlms must be paid

Name of Pavee                                  Total Loss*                      Restitution Ordered                    Priority or Percentage




TOTALS                               s                          0           s                             0


0     Restitution amount ordered pursuant to plea agreement $

0     The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 9: 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      0 the interest requirement is waived for the           0 fine      0 restitution.
      0 the interest requirement for the              h e           restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 11 0 , l lOA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
A 0 2458
               Case: 5:07-cr-00049-JMH
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           Sheet 6 - Schedule of Payments                               361
                                                                                                        Judgment-Page        4     of       4
DEFENDANT:                  CANO-GARCIA, Sergio
CASE NUMBER:                LEXINGTON 5:07-cr-49-13-JMH

                                                       SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A     X Lumpsumpaymentof$                  100.00            due immediately,balance due

           0     not laterthan                                   , or
           0     inaccordance            0 C,         0 D,   0    E,or     0 Fbelow; or
B     0 Payment to begin immediately (may be combined with               0C,         0D, or      0F below); or
C          Paymentinequal                    (e.g., weekly, monthly, quarterly) installments of 0                       over a period of
                      (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     IJ   Paymentinequal                      (e.g., weekly, monthly, quarterly) installments of S                    over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release &om imprisonment to a
           term of supervision; or

E     0 Payment during the term of supervised release will commence withm                      (e.g.. 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     X Special instructions regarding the payment of criminal monetary penalties:
           Criminal monetary penalties are payable to:
           Clerk, U. S. Distnct Court
           Eastern District of Kentuckv
           Post Office Box 3074
           Lexington, KY 40588-3074


Unless the court has express1 ordered otherwise, if thisjudgment imposes imprisonment, ayment of criminal monetary penalties is due durin
impnsonment. All crmmarmoneta penalties, except those payments made throug! the Federal Bureau of Prisons’ Inmate Financia?
Responsibility Program, are made to x e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



0 Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




0    The defendant shall pay the cost of prosecution.

0 The defendant shall pay the following court cost(s):
0 The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restjtution interest, (4) fine principal,
( 5 ) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost ofprosecution and court costs.
